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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

 Barreto-Baerga,                                   )
                                                   )
                        Plaintiff,                 )
                                                   ) Case No.: 6:25-CV-98-PGB-LHP
 v.                                                )
                                                   )
  OSCEOLA COUNTY, et al,                           )
                                                   )
                        Defendants.                )


           PLAINTIFF’S UNOPPOSED MOTION TO WITHDRAW BHAVANI
                   RAVEENDRAN AS COUNSEL OF RECORD
            NOW COMES Plaintiff, through his undersigned counsel, moving this

 Honorable Court for leave to withdraw Bhavani Raveendran as a member of

 Plaintiff’s counsel.

      I.       Concise Statement of Relief Requested

            Plaintiff seeks leave to withdraw Bhavani Raveendran as a member of

 Plaintiff’s counsel.

      II.      Memorandum of Legal Authority

            Local Rule 2.02 requires leave of court to withdraw from an action. L.R.

 2.02(c). To withdraw, a lawyer must notify the affected client 14 days before

 moving unless the client consents to withdrawal and include a certification of

 the notice or consent. L.R. 2.02(c)(1)(A)-(B). Absent certain exceptions, the

 withdrawing attorney must move to withdraw herself. L.R. 2.02(c)(2).
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    (3). Finally, a party that discharges an attorney must obtain substitute

    counsel. L.R. 2.02(c)(3).

    III.   Statement of the Basis for Request

 1. Counsel for Plaintiff has conferred with counsel for the Defendants, who

    inform Plaintiff that they do not oppose this request.

 2. Attorney Bhavani Raveendran was employed at Romanucci & Blandin, LLC

    the time of filing of the operative complaint.

 3. Ms. Raveendran was listed as a member of Plaintiff’s counsel on the

    complaint.

 4. Some time after the complaint was filed, Ms. Raveendran had given notice

    of the end date of her employment, as such a pro hac vice was not filed on

    her behalf.

 5. As of the close of business March 7, 2025, attorney Bhavani Raveendran is

    no longer employed with the firm of Romanucci & Blandin, LLC.

 6. Ms. Raveendran continues to receive filings and appear on the service list

    for the above-captioned cases, although a pro hac vice or appearance had

    not been directly filed in the matter on her behalf.

 7. The undersigned files this motion to clarify that Ms. Raveendran should no

    longer be listed as counsel of record.

 8. Plaintiff, Ms. Raveendran’s client, consents to withdrawal, pursuant to

    Local Rule 2.02(c)(1)(B)(i).

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 9. Additional attorneys of record currently represent both Plaintiffs in this

    matter, including Antonio Romanucci and Stephen Weil of Romanucci &

    Blandin, LLC and Albert Yonfa, Jr., and they will continue diligently and

    ably representing the Plaintiff in this matter going forward. Accordingly,

    this motion will not prejudice the representation of Plaintiff in this matter,

    nor will this motion cause any undue delay in these proceedings.

       WHEREFORE, Plaintiff respectfully requests the entry of an Order by

 this Honorable Court granting attorney Bhavani Raveendran leave to

 withdraw as a member of counsel for the Plaintiff, in this matter, and for all

 such other and further relief which this Honorable Court may deem just and

 proper.



 Date: April 22, 2025                           Respectfully submitted,
                                             ROMANUCCI & BLANDIN, LLC



                                             Respectfully submitted,
                                             /s/ Bhavani Raveendran

                                             ROMANUCCI & BLANDIN, LLC
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                                             Counsel for Plaintiff




                LOCAL RULE 3.01(G) CERTIFICATION
       The undersigned certifies that Counsel for Plaintiff has conferred with

 counsel for the Defendants via email, who on April 22, 2025 informed Plaintiff

 that they do not oppose this request.




 Date: April 22, 2025                                     Respectfully submitted,
                                                          /s/ Bhavani Raveendran




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              LOCAL RULE 2.02(c)(1)(B)(i) CERTIFICATION

       The undersigned certifies that the client consents to her withdrawal as

 attorney of record.


 Date: April 22, 2025                                  Respectfully submitted,
                                                       /s/ Bhavani Raveendran




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